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In re:                                                    Chapter 11

PURDUE PHARMA L.P., et al.,                               Case No. 19-23649 (RDD)

                Debtors.1                                 (Jointly Administered)


                 STIPULATION, AGREEMENT AND ORDER
    BETWEEN DEBTORS AND EXPRESS SCRIPTS SENIOR CARE HOLDINGS, INC.

         Purdue Pharma L.P. and certain of its affiliates, as debtors and debtors in possession

(collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”),

through their undersigned counsel, and Express Scripts Senior Care Holdings, Inc. (“ESSC” and,

together with the Debtors, the “Parties”) hereby enter into this stipulation, agreement and order

(this “Stipulation”).

         WHEREAS, on September 15, 2019, the Debtors each filed a voluntary petition for relief

under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”);

         WHEREAS, the Debtors are authorized to operate their businesses and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code;




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  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the
applicable jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue
Transdermal Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue
Pharmaceuticals L.P. (0034), Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745),
Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue
Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue Pharmaceutical Products L.P. (3902),
Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805), Button Land L.P. (7502),
Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes Pharmaceuticals
L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and SVC Pharma Inc.
(4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.
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           WHEREAS, on September 27, 2019, the United States Trustee for the Southern District

of New York appointed the official committee of unsecured creditors (the “Creditors’

Committee”);

           WHEREAS, on September 16, 2019, the Debtors filed the Motion of Debtors for Entry of

Interim and Final Orders Authorizing (i) Debtors to Honor Prepetition Obligations to Customers

and Related Third Parties and to Otherwise Continue Customer Programs, (ii) Relief from Stay to

Permit Setoff in Connection with the Customer Programs and (iii) Financial Institutions to Honor

and Process Related Checks and Transfers [ECF No. 11] (the “Customer Programs Motion”);2

           WHEREAS, on October 16, 2019, the Bankruptcy Court entered an order granting the

Customer Programs Motion on a final basis [ECF No. 314] (the “Final Customer Programs

Order”);

           WHEREAS, PPLP and ESSC are parties to a Medicare Part D Rebate Program Agreement

effective January 1, 2011 and amended from time to time thereafter (the “Rebate Program

Agreement”), pursuant to which PPLP pays certain Medicare Part D Rebates;

           WHEREAS, the Medicare Part D Rebate Program is a Customer Program, as such term is

defined in the Final Customer Programs Order;

           WHEREAS, the Debtors and ESSC agree that it is in their mutual interest to resolve all

amounts payable by the Debtors to ESSC on account of Medicare Part D Rebates on utilization of

OxyContin® where individual strengths of OxyContin® were listed on certain plan formularies

under different tiers, as well as formulary-related payments related to utilization of Hysingla® ER

and Butrans® (the “2017 Disputed Rebates”) for dates of services from January 1, 2017 to

December 31, 2017 invoiced on or before September 1, 2018 (the “Relevant Period”) to avoid


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    Capitalized terms used but not defined herein shall have the same meaning as in the Customer Programs Motion.



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the expense and uncertainty of further dispute, pursuant to a settlement agreement substantially in

the form attached as Exhibit 1 to this Stipulation (the “Settlement Agreement”);

          WHEREAS, under the terms of the Settlement Agreement, ESSC will pay the Debtors the

total sum of $2,139,412.00;

          WHEREAS, the Final Customer Programs Order authorizes the Debtors to fulfill and

honor their obligations under the Customer Programs, including Medicare Part D Rebate

programs, as they deem appropriate, without further application to the Bankruptcy Court, including

making all payments, satisfying all obligations, reconciling and finalizing payable amounts and

permitting all setoffs in connection therewith, whether relating to the period prior to, on or

subsequent to the Petition Date;

          WHEREAS, the Debtors and their customers routinely settle payment disputes under

contracts relating to their Customer Programs in the ordinary course of business and in order to

fulfill and honor their obligations under the Customer Programs in an efficient and value-

maximizing manner; and

          WHEREAS, out of an abundance of caution, the Parties seek approval of this Stipulation

authorizing them to enter into and perform under the Settlement Agreement;

          NOW, THEREFORE, in consideration of the mutual promises and covenants contained

herein, and other good and valuable consideration, the Parties, intending to be legally bound,

stipulate and agree as follows:

          1.     The foregoing recitals are incorporated herein by reference as if set forth at length

herein.




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        2.     PPLP and ESSC are authorized to enter into the Settlement Agreement attached as

Exhibit 1 hereto and to perform their respective obligations thereunder and all such further acts as

may be necessary, appropriate or desirable in connection therewith.

        3.     The Bankruptcy Court shall have exclusive jurisdiction to resolve any and all

disputes relating to this Stipulation. Each of the Parties irrevocably consents for all purposes of

this Stipulation to the jurisdiction of the Bankruptcy Court and agrees that venue is proper in the

Bankruptcy Court.

        4.     This Stipulation and the Settlement Agreement attached hereto represents the

Parties’ mutual understandings and supersedes all prior agreements whether in oral or written

form.

        5.     This Stipulation and the Settlement Agreement attached hereto shall bind and

benefit the Parties and each of their respective affiliates, subsidiaries, successors and assigns and

executors and administrators.

        6.     This Stipulation shall be effective and enforceable immediately upon entry.


                                     [Signature pages to follow]




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STIPULATED AND AGREED:

 Dated: February 14, 2020
        New York, New York
                                     DAVIS POLK & WARDWELL LLP

                                     By: /s/ Eli J. Vonnegut

                                     450 Lexington Avenue
                                     New York, New York 10017
                                     Telephone: (212) 450-4000
                                     Facsimile: (212) 701-5800
                                     Marshall S. Huebner
                                     Benjamin S. Kaminetzky
                                     Timothy Graulich
                                     Eli J. Vonnegut

                                     Counsel to the Debtors
                                     and Debtors in Possession

 Dated: February 14, 2020
        New York, New York
                                     HUSCH BLACKWELL LLP

                                     By: /s/ Marshall C. Turner

                                     190 Carondelet Plaza, Suite 600
                                     St. Louis, MO 63105
                                     Telephone: (314) 480-1500
                                     Facsimile: (314) 480-1505
                                     Marshall C. Turner

                                     Counsel to Express Scripts Senior Care
                                     Holdings, Inc.



SO ORDERED.

White Plains, New York                   /s/Robert D. Drain
Dated: March 2, 2020


                                         THE HONORABLE ROBERT D. DRAIN
                                         UNITED STATES BANKRUPTCY JUDGE
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                                    Exhibit 1

                           Form of Settlement Agreement
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                                        SETTLEMENT AGREEMENT


        This Settlement Agreement (this “Agreement”) is entered into by and between Purdue Pharma
L.P. and its Associated U.S. Companies, as defined in the Rebate Program Agreement (collectively,
“Purdue”) with its headquarters’ office located at One Stamford Forum, Stamford, Connecticut 06901 and
Express Scripts Senior Care Holdings, Inc. (hereinafter “ESSC”), and both Purdue and ESSC (which are
each referred to herein as a “Party” and collectively as “the Parties”) agree to the following:

        WHEREAS, Purdue is a privately held pharmaceutical company engaged in the research,
development, production, and marketing of prescription and over-the-counter medicines and healthcare
products;

              WHEREAS, ESSC is a provider of pharmacy benefit management services for various types of
plans;

         WHEREAS, Purdue and ESSC are parties to a Medicare Part D Rebate Program Agreement
effective January 1, 2011 and amended from time to time thereafter (the “Rebate Program Agreement”);

         WHEREAS, Purdue and ESSC agree that it is in their mutual interest to settle all past, current,
and future disputes regarding payment by Purdue to ESSC of rebates on utilization of OxyContin® where
individual strengths of OxyContin were listed on certain Plan formularies under different tiers, as well as
formulary-related disputes on utilization of Hysingla® ER and Butrans® (the “2017 Disputed Rebates”)
for dates of services from January 1, 2017 to December 31, 2017 invoiced on or before September 1, 2018
(the “Relevant Period”) to avoid the expense and uncertainty of further dispute and litigation; and

          WHEREAS, this Agreement shall not be construed in any way as an admission of wrongdoing or
liability on the part of either Party, the same being expressly denied;

        NOW, THEREFORE, in consideration of the promises and mutual covenants and agreements
hereinafter set forth, the Parties agree as follows:

          1.        Effective Date

This Agreement is effective as of the date of the last signature below (“Effective Date”).

          2.        Payment

         ESSC will pay to Purdue the total sum of $2,139,412.00 (hereinafter the “Settlement Amount”)
pursuant to the terms of this Agreement. The Settlement Amount will be payable in a lump sum within 30
days of acceptance and execution of this Agreement and will be transmitted to Purdue electronically
pursuant to written instructions provided by Purdue not later than seven (7) days following the final
execution of this Agreement. Purdue agrees that, upon payment by ESSC of the Settlement Amount
pursuant to the terms of this Agreement, all 2017 Disputed Rebates for the Relevant Period will be deemed
paid in full, and that ESSC will have no financial responsibility for any 2017 Disputed Rebates for the
Relevant Period.




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          3.     Releases

         For and in consideration of the mutual promises contained herein, receipt of which is hereby
acknowledged, ESSC (on behalf of itself and its officers) hereby releases Purdue from any and all past,
current and future alleged claims or causes of action, including attorneys’ fees, that ESSC has or may have,
directly or indirectly, against Purdue and any entity or person affiliated with Purdue related to 2017
Disputed Rebates for the Relevant Period, provided that nothing herein shall release any obligations of
Purdue pursuant to this Agreement.

         For and in consideration of the mutual promises contained herein, receipt of which is hereby
acknowledged, Purdue (on behalf of itself and its officers) hereby releases ESSC and any entity or person
affiliated with ESSC from any and all claims or causes of action, including attorney fees, that Purdue may
have, directly or indirectly, against ESSC and any entity or person affiliated with ESSC relating to 2017
Disputed Rebates for the Relevant Period, provided that nothing herein shall release any obligations of
ESSC pursuant to this Agreement.

          4.     Confidentiality

        Purdue and ESSC agree that the Agreement, related correspondence, alleged claims and
negotiations undertaken by the Parties are strictly confidential and that neither Party (including its agents,
servants, employees, and independent contractors) will disclose the contents of or existence of this
Agreement to any third parties without the written consent of the other Party, except as otherwise required
by valid subpoenas, court order, or by applicable local, state and federal law, rule, regulation or obligation,
upon request of any regulator, or the written consent of the Parties of this Agreement. Nothing herein shall
prohibit any Party from disclosing the fact that the matter was settled and closed as long as there is no
disclosure of the terms of the settlement. Furthermore, nothing herein shall prohibit ESSC from disclosing
the contents or terms of the Agreement to a client in connection with an audit or other substantiation of
payment to such client.

          5.     Governing Law

        Purdue and ESSC agree that the Agreement shall be interpreted according to the laws of the State
of Delaware without regard to conflict of law principles.

          6.     Authorized Representatives

         Each signer of the Agreement represents and warrants that he or she is authorized to execute this
Agreement in his or her official capacity on behalf of the Party to this Agreement for which he or she is
signing.

          7.     Entirety of Agreement/No Modification

        Purdue and ESSC agree that this Agreement represents the complete understanding of the Parties
on the subject matter addressed herein. All of the terms of this Agreement are contractual and are not a
mere recital. Neither Party may assign this Agreement without the prior written consent of the other
Party. No modification, revision or amendment to this Agreement shall be effective unless in writing and
signed by both of the Parties hereto.




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          8.       Headings

        The captions and headings contained herein are for convenient reference only and shall not in any
way affect the meaning of interpretation of this Agreement.

              9.   Counterparts

         This Agreement may be executed in one or more counterparts, each of which shall be deemed an
original, but all of which together constitute one and the same agreement.

          10       No Admission of Liability

        This Agreement shall not be used by any Party hereto or by any third party in any legal or
administrative proceeding except in a proceeding to enforce this Agreement or as may be otherwise agreed to
by the Parties or required by law.

          11.      Interpretation

        This Agreement shall be construed without regard to the Party who drafted the various
provisions. Any claimed ambiguity shall not be interpreted against either Party, but shall instead be resolved
in accordance with other applicable rules governing the interpretation of contracts.

          12.      Compliance

        The parties acknowledge and agree that this Agreement and its execution shall be carried
out in compliance with all applicable law, including but not limited to the Federal Anti-Kickback
Statute. ESSC represents and warrants that it will make all disclosures and submit all reports
regarding the Settlement Amount payable pursuant to this Agreement to the extent such disclosures
are required by applicable law or by contractual commitments undertaken by it.


          13.      Binding

         This Agreement shall become final and binding only upon the date of the last signature of a duly
authorized representative of each Party hereto. Facsimiles or electronically mailed documents containing
the required signatures shall constitute acceptable, binding signatures for purposes of this Agreement. Each
Party to this Agreement represents and warrants that: (i) it was represented by legal counsel and had
sufficient opportunity to review the terms of this Agreement with their legal counsel; (ii) it has voluntarily
executed this Agreement; (iii) no promise or representation, oral or otherwise, has been made to it by any
other Party, except as expressly stated in this Agreement; (iv) it fully understands that the consideration
provided for in this Agreement is all the consideration that is to be given for the matters contained in this
Agreement; (v) to the best of its knowledge, this Agreement is fully enforceable in accordance with its
terms.




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PURDUE PHARMA L.P.


__________________________                       DATE: _______________________
Jon Lowne
SVP, Chief Financial Officer


Express Scripts Senior Care Holdings, Inc.


__________________________                       DATE: _______________________
Adam Kautzner
Chief Pharma Trade Relations Officer




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